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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
In re:                                                              CHAPTER 11
                                                                    Case No. 08-12666 MG
        PACE PRODUCT SOLUTIONS, INC.,

                                    Debtor
---------------------------------------------------------X

             LIST OF EQUITY SECURITY HOLDERS PURSUANT TO
     RULE 1007(a)(3) OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE


Name and Last Known Address of Equity Interest Holder
Kind of Interest
Number of Interests Held:

Boaz Bagbag
304 East 78th Street, Apt. 5F
New York, New York 10021
Equity: 236 shares of no par value stock (78.66% ownership)

Asher Alcobi
250 East 65th Street
New York, NY 10021
Equity: 64 shares of no par value stock (21.33% ownership)


                       DECLARATION UNDER PENALTY OF PERJURY

        I, the undersigned authorized officer of Pace Product Solutions, Inc., named as the debtor

in this case, declare under penalty of perjury that I have reviewed the “List of Equity Security

Holders” and that it is true and correct to the best of my knowledge, information and belief.


Dated: July 17, 2008
                                                              /s/ Boaz Bagbag
                                                              Name: Boaz Bagbag
                                                              Title: President
